             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                         1:20-cv-244-MR

MARQUIS DECHANE HARRISON,                        )
                                                 )
                         Plaintiff,              )
                                                 )           ORDER
v.                                               )
                                                 )
BRANDON NICHOLSON,                               )
Henderson County Jail Officer,                   )
                                                 )
                      Defendant.                 )
__________________________________               )

      This matter is before the undersigned following the Order of the District

Court referring this case for a judicial settlement conference. Doc. 51.

      A judicial settlement conference is set for Thursday, October 14, 2021

beginning at 1:00 p.m.

      The conference will be conducted by telephone. Call-in information will

be provided to the parties by separate communication.

      Plaintiff shall participate in the conference from Bertie Correctional

Institution, Plaintiff’s present place of incarceration. Bertie Correctional

Institution shall ensure that the necessary accommodations are made to allow

Plaintiff to participate in the settlement conference. To the extent possible,

Plaintiff shall be allowed to participate in the settlement conference in a

private setting and with access to his case materials.




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      Defendant and his counsel may participate in the conference from any

location they deem appropriate, provided that Defendant and his counsel

participate using a single conference line. Further, in accordance with this

district’s Local Civil Rule 16.3(d)(2), a person with full authority (not including

counsel of record) to settle all pending claims must also participate in the

conference on behalf of Defendant, to the extent Defendant himself does not

have such authority. Any such person shall also participate using the same

conference line as Defendant and his counsel.

      Any request seeking permission to modify the terms of this Order shall

be filed no later than September 30, 2021 or be subject to summary denial.

      The Clerk is respectfully directed to certify a copy of this Order to Ms.

Tobie Price at Bertie Correctional Institution.

      It is so ordered.

                              Signed: September 22, 2021




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